Case 3:20-cv-00518-X Document 23-4 Filed 04/28/20   Page 1 of 6 PageID 207




                     EXHIBIT D




                                                                     App-18
                                    Case 3:20-cv-00518-X Document 23-4 Filed 04/28/20                         Page 2 of 6 PageID 208
Union Asset Management Holding AG
FIFO/LIFO Loss in Fluor Corp. (NYSE: FLR)
Class Period: 11/02/17 - 02/14/20
Cusip: 343412102

      Transaction              Date       Shares      Price         Cost                        Transaction         Date         Shares        Price         Proceeds

UniFavorit: Aktien

Purchase                      1/22/2018     151,733   61.2118    $9,287,850.05
Purchase                      1/23/2018     384,191   61.5069   $23,630,397.42
Purchase                      1/24/2018     197,363   61.3764   $12,113,430.43
Purchase                      1/25/2018     120,690   61.2370    $7,390,693.53
Purchase                      1/26/2018      97,995   61.2834    $6,005,466.78
Purchase                       8/3/2018      51,500   55.2835    $2,847,100.25
Purchase                      8/14/2018      88,781   56.2765    $4,996,283.95
Purchase                      8/15/2018      64,300   55.2260    $3,551,031.80           Sale                        5/2/2019     (200,000)     30.4190     ($6,083,800.00)
Purchase                     10/26/2018     240,362   43.8869   $10,548,743.06           Sale                        5/3/2019     (261,748)     29.1449     ($7,628,619.29)
Purchase                     10/29/2018      91,444   43.8134    $4,006,472.55           Sale                        8/6/2019     (530,215)     22.9440    ($12,165,252.96)
Purchase                       4/2/2019      78,073   38.3946    $2,997,581.61           Sale                        8/6/2019      (14,171)     24.3053       ($344,430.41)
Purchase                       4/3/2019     100,000   38.9470    $3,894,700.00           Sale                        8/7/2019     (303,049)     21.3473     ($6,469,277.92)
Purchase                       4/4/2019       5,316   39.4655      $209,798.60           Sale                        8/8/2019      (81,123)     20.4681     ($1,660,433.68)
Purchase                       4/5/2019     100,000   40.4228    $4,042,280.00           Sale                        8/8/2019     (136,625)     20.7903     ($2,840,474.74)
Purchase                       4/8/2019      90,000   40.1687    $3,615,183.00           Sale                        8/9/2019     (334,817)     20.0614     ($6,716,897.76)
                                          1,861,748             $99,137,013.02                                                  (1,861,748)                ($43,909,186.75)

                                                                                                                                 UniFavorit: Aktien Loss   ($55,227,826.27)

UniNachhaltig Aktien Global

Purchase                      1/22/2018      4,144    61.2118      $253,661.70
Purchase                      1/23/2018     10,493    61.5069      $645,391.90
Purchase                      1/24/2018      5,390    61.3764      $330,818.80
Purchase                      1/25/2018      3,296    61.2370      $201,837.15
Purchase                      1/26/2018      2,677    61.2834      $164,055.66
Purchase                      6/18/2018     11,859    49.6231      $588,480.34
Purchase                       8/6/2018     33,671    56.3936    $1,898,828.91
Purchase                      8/27/2018      2,962    58.4007      $172,982.87
Purchase                      9/19/2018      3,848    58.5802      $225,416.61
Purchase                      10/2/2018     26,526    60.2500    $1,598,191.50
Purchase                     11/20/2018      3,043    42.2573      $128,588.96           Sale                       10/4/2018      (9,524)      59.4207       ($565,922.75)
Purchase                     12/11/2018      2,915    36.4054      $106,121.74           Sale                      11/13/2018     (41,180)      44.6907     ($1,840,363.03)
Purchase                      1/17/2019      2,947    36.4887      $107,532.20           Sale                        2/8/2019     (63,067)      33.7026     ($2,125,521.87)
                                           113,771               $6,421,908.35                                                   (113,771)                  ($4,531,807.65)

                                                                                                                        UniNachhaltig Aktien Global Loss    ($1,890,100.70)




                                                                                 Page 1 of 5                                                               App-19
                                    Case 3:20-cv-00518-X Document 23-4 Filed 04/28/20                        Page 3 of 6 PageID 209
Union Asset Management Holding AG
FIFO/LIFO Loss in Fluor Corp. (NYSE: FLR)
Class Period: 11/02/17 - 02/14/20
Cusip: 343412102

      Transaction              Date        Shares     Price       Cost                         Transaction         Date         Shares        Price         Proceeds

UniNordamerika

                                                                                        Sale                       9/25/2018       (3,880)    58.6251        ($227,465.39)
                                                                                        Sale                       10/5/2018       (2,606)    58.9222        ($153,551.25)
Purchase                       8/23/2018     46,300   57.4820   $2,661,416.60           Sale                       5/21/2019      (39,814)    29.8783      ($1,189,574.64)
                                             46,300             $2,661,416.60                                                     (46,300)                 ($1,570,591.28)

                                                                                                                                  UniNordamerika Loss      ($1,090,825.32)

Uni21.Jahrhundert -net-

Purchase                       3/15/2018     45,000   57.3501   $2,580,754.50           Sale                        5/7/2018      (45,000)    44.1856      ($1,988,352.00)
Purchase                       8/21/2018     50,000   57.5528   $2,877,640.00           Sale                      10/11/2018      (50,000)    48.5119      ($2,425,595.00)
                                             95,000             $5,458,394.50                                                     (95,000)                 ($4,413,947.00)

                                                                                                                           Uni21.Jahrhundert -net- Loss    ($1,044,447.50)

UniDynamicFonds: Global

Purchase                       1/22/2018      5,838   61.2118     $357,354.49
Purchase                       1/23/2018     14,783   61.5069     $909,256.50
Purchase                       1/24/2018      7,594   61.3764     $466,092.38
Purchase                       1/25/2018      4,644   61.2370     $284,384.63
Purchase                       1/26/2018      3,770   61.2834     $231,038.42           Sale                        5/7/2018      (28,000)    44.2943      ($1,240,240.40)
Purchase                       4/23/2018     19,700   59.2044   $1,166,326.68           Sale                       5/18/2018      (28,329)    49.4911      ($1,402,033.37)
                                             56,329             $3,414,453.10                                                     (56,329)                 ($2,642,273.77)

                                                                                                                          UniDynamicFonds: Global Loss      ($772,179.33)

UIN-Fonds Nr. 759

Purchase                      1/24/2018      12,860   61.6607     $792,956.60
Purchase                     10/19/2018       1,910   46.8500      $89,483.50           Sale                       2/22/2019       (3,825)    37.9155       ($145,026.79)
Purchase                     11/30/2018       5,190   41.0956     $213,286.16           Sale                       8/27/2019      (16,135)    17.3308       ($279,632.46)
                                             19,960             $1,095,726.27                                                     (19,960)                  ($424,659.25)

                                                                                                                                UIN-Fonds Nr. 759 Loss      ($671,067.02)




                                                                                Page 2 of 5                                                               App-20
                                    Case 3:20-cv-00518-X Document 23-4 Filed 04/28/20                        Page 4 of 6 PageID 210
Union Asset Management Holding AG
FIFO/LIFO Loss in Fluor Corp. (NYSE: FLR)
Class Period: 11/02/17 - 02/14/20
Cusip: 343412102

      Transaction              Date        Shares     Price       Cost                         Transaction         Date          Shares        Price          Proceeds

UniRak Nachhaltig

Purchase                        3/5/2018     36,533   57.1334   $2,087,254.50
Purchase                        3/6/2018     23,467   57.3612   $1,346,095.28           Sale                      10/11/2018       (60,000)     46.9912      ($2,819,472.00)
                                             60,000             $3,433,349.78                                                      (60,000)                  ($2,819,472.00)

                                                                                                                                 UniRak Nachhaltig Loss       ($613,877.78)

UniSector: BasicIndustries

Purchase                        3/8/2018     17,365   57.5825     $999,920.11
Purchase                        3/8/2018        635   57.2617      $36,361.18
Purchase                        8/9/2018      5,000   56.2721     $281,360.50           Sale                      12/13/2018       (23,000)     34.0567       ($783,304.10)
                                             23,000             $1,317,641.79                                                      (23,000)                   ($783,304.10)

                                                                                                                          UniSector: BasicIndustries Loss     ($534,337.69)

UniRak Nachhaltig Konservativ

Purchase                        3/5/2018     18,267   57.1334   $1,043,655.82
Purchase                        3/6/2018     11,733   57.3612     $673,018.96           Sale                      10/11/2018       (30,000)     46.9912      ($1,409,736.00)
                                             30,000             $1,716,674.78                                                      (30,000)                  ($1,409,736.00)

                                                                                                                    UniRak Nachhaltig Konservativ Loss        ($306,938.78)

UIN-Fonds Nr. 727

Purchase                      1/24/2018       5,020   61.6607    $309,536.71            Sale                       2/20/2019        (2,482)     37.2200        ($92,380.04)
Purchase                     11/30/2018       2,150   41.0956     $88,355.54            Sale                       8/27/2019        (4,688)     17.3308        ($81,246.79)
                                              7,170              $397,892.25                                                        (7,170)                   ($173,626.83)

                                                                                                                                 UIN-Fonds Nr. 727 Loss       ($224,265.42)




                                                                                Page 3 of 5                                                                 App-21
                                    Case 3:20-cv-00518-X Document 23-4 Filed 04/28/20                      Page 5 of 6 PageID 211
Union Asset Management Holding AG
FIFO/LIFO Loss in Fluor Corp. (NYSE: FLR)
Class Period: 11/02/17 - 02/14/20
Cusip: 343412102

      Transaction              Date        Shares     Price      Cost                        Transaction         Date          Shares        Price        Proceeds

UniProInvest: Chance

Purchase                       1/22/2018      4,351   60.5273   $263,354.28
Purchase                       1/26/2018        814   61.2700    $49,873.78
Purchase                       3/27/2018      1,439   56.3912    $81,146.94
Purchase                       4/27/2018        733   59.4700    $43,591.51
Purchase                        7/2/2018      1,429   48.3121    $69,037.99
Purchase                       10/2/2018      1,908   59.1900   $112,934.52           Sale                      10/11/2018       (10,674)     48.5119      ($517,816.02)
                                             10,674             $619,939.02                                                      (10,674)                  ($517,816.02)

                                                                                                                             UniProInvest: Chance Loss     ($102,123.00)

UIN-Fonds Nr. 760

Purchase                       3/19/2018      2,501   57.2264   $143,123.23           Sale                       9/23/2019        (2,501)     20.9929       ($52,503.24)
                                              2,501             $143,123.23                                                       (2,501)                   ($52,503.24)

                                                                                                                               UIN-Fonds Nr. 760 Loss       ($90,619.98)

Demografiefonds

                                                                                      Sale                        4/4/2019          (865)     38.8800       ($33,631.20)
Purchase                       1/24/2018      2,380   61.6607   $146,752.47           Sale                       8/14/2019        (1,515)     18.7983       ($28,479.42)
                                              2,380             $146,752.47                                                       (2,380)                   ($62,110.62)

                                                                                                                                 Demografiefonds Loss       ($84,641.84)

SV-Union-Fonds

Purchase                        7/5/2019      4,350   32.0700   $139,504.50           Sale                       9/25/2019        (4,350)     20.1887       ($87,820.85)
                                              4,350             $139,504.50                                                       (4,350)                   ($87,820.85)

                                                                                                                                  SV-Union-Fonds Loss       ($51,683.66)

MVB TrendStrategie: Value

Purchase                        2/8/2018      1,600   56.1800    $89,888.00           Sale                       3/11/2019        (1,600)     36.8566       ($58,970.56)
                                              1,600              $89,888.00                                                       (1,600)                   ($58,970.56)

                                                                                                                     MVB TrendStrategie: Value Loss         ($30,917.44)



                                                                              Page 4 of 5                                                                App-22
                                    Case 3:20-cv-00518-X Document 23-4 Filed 04/28/20                        Page 6 of 6 PageID 212
Union Asset Management Holding AG
FIFO/LIFO Loss in Fluor Corp. (NYSE: FLR)
Class Period: 11/02/17 - 02/14/20
Cusip: 343412102

      Transaction              Date          Shares     Price     Cost                        Transaction             Date         Shares         Price          Proceeds

UniInstitutional Stiftungsfonds Nachhaltig

Purchase                        2/7/2019          350   36.0000   $12,600.00           Sale                            7/8/2019         (350)      32.1629         ($11,257.02)
                                                  350             $12,600.00                                                            (350)                      ($11,257.02)

                                                                                                             UniInstitutional Stiftungsfonds Nachhaltig Loss        ($1,342.99)

UniInstitutional Kommunalfonds Nachhaltig

Purchase                        2/6/2019          320   35.8931   $11,485.79           Sale                           2/15/2019         (320)      35.6500         ($11,408.00)
                                                  320             $11,485.79                                                            (320)                      ($11,408.00)

                                                                                                            UniInstitutional Kommunalfonds Nachhaltig Loss             ($77.79)

                                                                                                            Union Asset Management Holding AG Total Loss       ($62,737,272.52)




                                                                               Page 5 of 5                                                                     App-23
